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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig     *
“Deepwater Horizon” in the Gulf     *                          MDL NO.: 2179
of Mexico, on April 20, 2010        *
                                    *
                                    *                          SECTION J
This document relates to all cases  *
                                    *
                                    *                          JUDGE BARBIER
                                    *                          MAG. JUDGE SHUSHAN
                                    *
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SUPPLEMENTAL MEMORANDUM IN SUPPORT OF UNOPPOSED OBJECTION TO
  PTO NO. 34 AND RULE 59(E) MOTION TO CLARIFY PTO NO. 34 THROUGH
     DECLARATION REGARDING EFFECT OF SHORT-FORM FILING ON
                   CLAIMANTS’ GCCF RECOVERIES

         On April 20, 2011, the undersigned filed an Objection to PTO No. 34 and Rule 59(e)

Motion to Clarify PTO No. 34 Through Declaration Regarding Effect of Short-Form Filing on

Claimants’ GCCF Recoveries. Doc. No. 2047 (“the Objection and Rule 59 Motion”).1 The

Notice of Submission set the date of submission as May 11, 2011; all deadlines for opposition to

the Objection and Rule 59 Motion have passed, and the Objection and Rule 59 Motion is

unopposed. Moreover, this Court, during its April 29, 2011 status conference, recognized the

need to address the interplay of Pre-Trial Order No. 34 on dismissals by litigants who have

achieved satisfaction of their claims in the GCCF process. Doc. No. 2262, at p. 61. Therefore,


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          The Objection and Rule 59 Motion were originally filed on April 19, 2011, see Doc. No. 2024, with a
deficiency in filing cured by re-filing on April 20, 2011. Doc. No. 2047; see also Doc. Nos. 2109 (St. Joe
Company’s Notice of Objection to PTO 34) (April 22, 2011); 2095 (Objections by Claimants/Plaintiffs re Pretrial
Order No. 34) (April 21, 2011); 2092 (Objections by Claimant/Plaintiff Sears Holdings Corp. re Pretrial Order No.
34) (April 21, 2011); 2091 (Objections by Claimant/Plaintiff Seahawk Drilling, Inc. and Seahawk Drilling, LLC re
Pretrial Order No. 34) (April 21, 2011); 2090 (Objections by Claimant/Plaintiff FDIC as Receiver of Coastal
Community Bank and FDIC as Receiver of Superior Bank re Pretrial Order No. 34) (April 21, 2011); 2089
(Objections by Claimant/Plaintiff United Salt Corp. re Pretrial Order no. 34) (April 21, 2011); 2088 (Objections by
Claimant/Plaintiff Texas Brine Co., L.L.C. re Pretrial Order no. 34) (April 21, 2011).

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because this Objection and Rule 59 Motion is unopposed and because it directly addresses the

issue of concern articulated by the Court, the undersigned request that the Court enter an order

granting the Objection and Rule 59 Motion as follows.

       As argued in the unopposed Objection and Rule 59 Motion, the combination of the short-

form joinder filing deadline and the disallowance of voluntary dismissals without leave of court

that was effected by PTO No. 34 has removed some measure of full disclosure and transparency

for claimants still seeking resolution of their claims in the GCCF process. Specifically, claimants

who are either acting pro se in the GCCF process or who have retained counsel but which

counsel is representing such claimants on a tiered contingent-fee basis that would result in no or

substantially reduced attorneys’ fees for recovery out of the GCCF fund face uncertainty with

regard to how the short-form joinder will affect their net recovery from the GCCF. That is,

having ceded some measure of control over the ability to voluntarily dismiss their litigation if

they obtain satisfaction of their claims from the GCCF, claimants cannot be certain that any levy

of common benefit fees in the litigation will not be applied in such a manner as to reduce their

net recovery from the GCCF even though they may not ultimately proceed to litigate their

claims. Due to the April 20 monition deadline, and without transparency as to how common

benefit fees would be addressed or assessed in the MDL, claimants still hoping to resolve their

claims in the GCCF process were stuck between choosing to preserve their rights in the litigation

and seeking to preserve their maximum possible net recovery in the GCCF pre-litigation claims

process.

       As discussed in the original memorandum in support of the Objection and Rule 59

Motion, this quandary and the lack of transparency at the root of the quandary can be addressed

by this Court through clarification of PTO No. 34 by entering an order clarifying that, despite the



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Court’s exercise of its authority to prohibit voluntary dismissals without leave of court, short-

form joinder will not be a basis for reduction of any claimants’ net recovery from the GCCF for

claimants who reach settlement in the GCCF process and do not further litigate their claims.

       At the April 29, 2011 status conference, this Court recognized the possible interplay and

difficulties between joinder in the litigation and the dismissal upon settlement in light of PTO

No. 34:

               I think liaison counsel are going to have to confer and perhaps
               suggest how to handle – I think what we’ll be getting, from time to
               time, a request by – again, I’m speaking more to Pre Se litigants
               who have filed these claim forms, they will be coming in asking to
               dismiss their claim or withdraw it or whatever for various reasons,
               including that maybe they’ve filed – they’ve settled their claim or
               intend to settle with the GCCF. That may implicate the order that
               I put in place about Rule 41 dismissals. … So I would ask for
               your input as to the best way to handle those.

Transcript of April 29, 2011 status conference, Doc. No. 2262, at p. 61 (Apr. 29, 2011)

(emphasis added). For the same reason this concern applied to pro se litigants/GCCF claimants,

it would apply to any GCCF claimant – represented or not – who has joined the MDL to preserve

its rights but which subsequently settles its claims in the GCCF process and incurs little or no

attorneys’ fees in that process.

       Notably, there has been no opposition filed to the Objection and Rule 59 Motion (or to

the several join-in objections to PTO No. 34 that were subsequently filed), either by any of the

defendants or by the Plaintiffs Steering Committee (which nevertheless refused to address this

issue prior to the filing of this motion or support the effort to seek clarification from the Court, as

described in the Certificate of Non-Support included with the original memorandum in support

of the Objection and Rule 59 Motion).

       For these reasons and for those detailed in the original memorandum in support of the

Objection and Rule 59 Motion, the undersigned request that this Court enter the requested relief,
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entering an order amending or clarifying PTO No. 34 to specify that short-form joinder will not

be a basis for reduction of any claimants’ net recovery from the GCCF for claimants who reach

settlement in the GCCF process and do not further litigate their claims.



                                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 11, 2011, I filed and served the foregoing pleading via

Lexis/Nexis File & Serve and through this Court’s CM/ECF Filing System with the Clerk of

Court of the United States District Courthouse for the Eastern District of Louisiana, 500 Poydras

Street, New Orleans, Louisiana, thereby effecting service on all counsel of record.

                                     /s/ H.S. Bartlett III____________________




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